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 6 Cindy Omidi
 7
 8                         IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
      United States of America,                       Case No. CR 13-00739-SVW
11
             Plaintiff                                JOINT STIPULATION TO RETURN
12                                                    PASSPORT TO DEFENDANT CINDY
      vs.                                             OMIDI
13
      Cindy Omidi
14
             Defendant
15
16           Plaintiff United States of America, by and through its attorneys of record, Assistant
17 United States Attorneys Kristen Williams, and defendant Cindy Omidi (“Omidi”), by and
18 through her counsel of record, Ryan D. Kashfian, hereby stipulate as follows:
19           1.     As a condition of the appearance bond entered in this case, Mrs. Omidi was
20 required to surrender any passports she had to the clerk of the court, Dkt. 18, and Mrs.
21 Omidi surrendered her passport to pre-trial services.
22           2.     On August 10, 2015, Mrs. Omidi was sentenced to probation. Dkts. 442, 443.
23           3.     In addition, on December 1, 2015, the court issued an order granting a money
24 judgment forfeiture, Dkt. 467, and on February 3, 2016, Mrs. Omidi satisfied the money
25 judgment, Dkt. 474.
26           4.     On February 7, 2017, the court issued a report and order terminating
27 probation prior to original expiration date. Dkt. 496. The report found that Mrs. Omidi
28 had completed all of the requirements involving her sentencing and that she had met all of
30          Case No. CR 13-00739-SVW                 1
                      JOINT STIPULATION TO RETURN PASSPORT TO DEFENDANT CINDY OMIDI
31
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 1 the special conditions for probation as ordered by this court and stated that she was
 2 “discharged from supervision and the proceedings in the case be terminated.” Id.
 3         5.    On March 19, 2017, pre-trial services indicated that it will release the
 4 passport to Mrs. Omidi upon the court issuing an order approving pre-trial services to
 5 return the passport. Pre-trial services stated that Mrs. Omidi is a US Citizen and that,
 6 unless the Court provides an order to return the passport to Mrs. Omidi, pre-trial services
 7 in due course will forward the passport to the State Department. Pre-trial services has no
 8 objection to returning the passport to Mrs. Omidi.
 9         6.    Accordingly, counsel respectfully request that the Court enter an order
10 having pre-trial services return the passport to Mrs. Omidi.
11         IT IS SO STIPULATED.
12
13 DATED: March 13, 2017                             KASHFIAN & KASHFIAN, LLP
14
15
                                                     By: /s/ Ryan D. Kashfian
16
                                                        Ryan D. Kashfian
17                                                   Counsel for Defendant
                                                     Cindy Omidi
18
19 DATED: March 13, 2017                             KRISTEN WILLIAMS
                                                     Assistant United States Attorney
20
21
22                                                   By: /s/Kristen Williams
                                                        Kristen Williams
23                                                   Counsel for Plaintiff
                                                     United States of America
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